      Case 2:16-cv-00614-AB-AS Document 283 Filed 09/30/19 Page 1 of 4 Page ID #:6536

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Central District
                                                __________  DistrictofofCalifornia
                                                                         __________

    HARMONI INTERNATIONAL SPICE, INC., a                         )
California corporation, and ZHENGZHOU HARMONI                    )
           SPICE CO., LTD., a corporation,                       )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 2:16-cv-00614 AB-AS
                                                                 )
      WENXUAN BAI, an individual, see attached.                  )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) On the Fourth Amended Complaint.
                                       Huamei Consulting Co., Ltd.
                                       Room 1303 Yuhua Square C-2, #9 Yuhua Xi
                                       Road, Shijiazhuang, Hebei Province, China;

                                       See $WWDFKPHQW$

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John E. Schreiber
                                       Winston & Strawn LLP
                                       333 S. Grand Avenue #3800
                                       Los Angeles, CA 90071
                                       Tel: (213) 615-1700



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:            9/30/2019                                                            Grace Kami
                                                                                      Signature of Clerk or Deputy Clerk
       Case 2:16-cv-00614-AB-AS Document 283 Filed 09/30/19 Page 2 of 4 Page ID #:6537

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:16-cv-00614 AB-AS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                                                      Case 2:16-cv-00614-AB-AS Document 283 Filed 09/30/19 Page 3 of 4 Page ID #:6538



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          ATTACHMENT A TO 7+(726(&7,212)SUMMONS

   #             Name                                    Address
   1   Huamei Consulting Co.,       Room 1303 Yuhua Square C-2, #9 Yuhua Xi
       Ltd.                         Road, Shijiazhuang, Hebei Province, China
   2   Hebei Golden Bird            338, West Heping Road, Shijiazhuang, Hebei,
       Trading Co., Ltd.            China
   3   Qingdao Tiantaixing          West Wangyi Village, Madian Town, Jiaozhou,
       Foods, Co., Ltd.             Qingdao City, Shandong, China
   4   Qingdao Lianghe              No.6, Lilou Economy Development District,
       International Trading Co.,   Jinxiang Town, Jinxiang County, Jining City,
       Ltd.                         Shandong, China
   5   Jinxiang Hejia Co., Ltd.     1006, No.24, Guanyinxia Road, Shinan District,
                                    Qingdao City, Shandong, China
   6   Bai, Wenxuan                 Room 1403 Building 7, #43 Qutangxia Road,
                                    South City District, Qingdao City, Shandong,
                                    China
                                    Qingdao Xintianfeng Food Co. Ltd., Jiaolai
                                    Industry Park, Jiaozhou Town, Qingdao,
                                    266000 China
   7   Chen, Hongxia                Room 1403 Building 7, #43 Qutangxia Road,
                                    South City District, Qingdao City, Shandong,
                                    China
   8   Ye, Jicheng                  No.34, Meizhou Island Road, Huangdao
                                    District, Qingdao City, Shandong, China
   9   Wang, Ruopeng                Room 203, Unit 3, Building 9, #48 Beihe St.,
                                    Xinhua District, Shijiazhuang, Hebei, China
  10 Du, Cai                        Room 1303 Yuhua Square C-2, #9 Yuhua Xi
                                    Road, Shijiazhuang, Hebei Province, China
  11 Zhang, Qinghui                 Room 1303 Yuhua Square C-2, #9 Yuhua Xi
                                    Road, Shijiazhuang, Hebei Province, China
  12 Wang, Lucy                     Room 1303 Yuhua Square C-2, #9 Yuhua Xi
                                    Road, Shijiazhuang, Hebei Province, China
